            3:20-cv-03234-SEM-KLM # 13   Page 1 of 4
                                                                           E-FILED
                                           Wednesday, 18 August, 2021 04:03:57 PM
                                                      Clerk, U.S. District Court, ILCD

        IN THE UNITED STATES DISTRICT COURT
        FOR THE CENTRAL DISTRICT OF ILLINOIS
                SPRINGFIELD DIVISION

EAST CENTRAL ILLINOIS PIPE      )
TRADES HEALTH AND WELFARE       )
TRUST FUND, PLUMBERS &          )
PIPEFITTERS NATIONAL PENSION    )
FUND, PLUMBERS AND              )
STEAMFITTERS LOCAL #137 PENSION )
FUND, PLUMBERS AND              )
STEAMFITTERS LOCAL #137 ANNUITY )
FUND, THE FUND FOR THE TRAINING )
OF APPRENTICES AND JOURNEYMEN )
PLUMBERS AND STEAMFITTERS OF    )
LOCAL UNION NO. 137,            )
INTERNATIONAL TRAINING FUND,    )
INDUSTRY FUND, PLUMBERS AND     )
STEAMFITTERS LOCAL #137 PER     )
CAPITA FUND, PLUMBERS AND       )
STEAMFITTERS LOCAL #137 MARKET )
RECOVERY FUND, PLUMBERS AND     )
STEAMFITTERS LOCAL #137 COPE    )
FUND, PLUMBERS AND              )
STEAMFITTERS LOCAL #137 NEW     )
BUILDING FUND, PLUMBERS AND     )
STEAMFITTERS LOCAL #137 SAVINGS )
FUND, and PLUMBERS AND          )
STEAMFITTERS LOCAL #137,        )
                                )
             Plaintiffs,        )           Case No. 20-cv-3234
                                )
v.                              )
                                )
AC CROWDER CORPORATION and      )
AARON CROWDER,                  )
                                )
             Defendants.        )



                        Page 1 of 4
                3:20-cv-03234-SEM-KLM # 13   Page 2 of 4




                               ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     This cause comes before the Court on Plaintiffs’ Motion for

Entry of Final Judgment (d/e 11). The Court has reviewed

Plaintiffs’ Motion, the supporting memorandum of law, and the

affidavits and other documentary evidence filed in this matter.

After Defendants AC Crowder Corporation and Aaron Crowder failed

to respond to Plaintiffs’ Motion for Default Judgment (d/e 7), this

Court previously found that Defendants were liable to Plaintiffs for

damages on May 21, 2021. See d/e 10. Plaintiffs have now

submitted documentary evidence establishing the amount of

damages, costs, and fees to which Plaintiffs are entitled.

Accordingly, it is hereby ORDERED that:

     1.   Plaintiffs’ Motion for Entry of Final Judgment (d/e 11) is

GRANTED.

     2.   Defendants are liable to Plaintiffs for a breach of their

obligations under the provisions of ERISA, the collective bargaining

agreements, the Plaintiffs’ respective trust agreements, and the

promissory note. Defendants owe Plaintiffs delinquent

contributions, working dues, liquidated damages, interest, audit


                             Page 2 of 4
                 3:20-cv-03234-SEM-KLM # 13   Page 3 of 4




costs, and attorneys’ fees and court costs as detailed in Plaintiffs’

Motion for Entry of Final Judgment.

     3.    Judgment is entered in favor of plaintiffs Plumbers and

Steamfitters Local #137 Pension Fund, Plumbers and Steamfitters

Local #137 Annuity Fund, The Fund for the Training of Apprentices

and Journeymen Plumbers and Steamfitters of Local Union No.

137, International Training Fund, Industry Fund, Plumbers and

Steamfitters Local #137 Per Capita Fund, Plumbers and

Steamfitters Local #137 Market Recovery Fund, Plumbers and

Steamfitters Local #137 Cope Fund, Plumbers and Steamfitters

Local #137 New Building Fund, Plumbers and Steamfitters Local

#137 Savings Fund, and Plumbers and Steamfitters Local #137 and

against the defendant AC Crowder Corporation in the sum of

$120,455.73 and against Aaron Crowder, personally, in the sum of

$62,540.76. These sums are inclusive of attorneys’ fees and costs

as well as damages, as detailed in Plaintiffs’ Motion for Entry of

Final Judgment.

     4.    Judgment is entered in favor of Plaintiff East Central

Illinois Pipe Trades Health and Welfare Trust Fund and against the

defendant AC Crowder Corporation in the sum of $63,819.67. This


                              Page 3 of 4
                3:20-cv-03234-SEM-KLM # 13   Page 4 of 4




sum is inclusive of attorneys’ fees and costs as well as damages, as

detailed in Plaintiffs’ Motion for Entry of Final Judgment.

     5.   Judgment is entered in favor of plaintiff Plumbers &

Pipefitters National Pension Fund and against the defendant AC

Crowder Corporation in the sum of $12,639.77. This sum is

inclusive of attorneys’ fees and costs as well as damages, as detailed

in Plaintiffs’ Motion for Entry of Final Judgment.

     6.   Judgment is entered in favor of Plaintiff Plumbers &

Steamfitters Local 137 Pension Fund and against Defendant AC

Crowder Corporation in the sum of $978.00. This sum is inclusive

of attorneys’ fees and costs as well as damages, as detailed in

Plaintiffs’ Motion for Entry of Final Judgment.

ENTER: August 12, 2021


                                s/ Sue E. Myerscough
                                SUE E. MYERSCOUGH
                                UNITED STATES DISTRICT JUDGE




                             Page 4 of 4
